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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MASSACHUSETTS

_________________________________________
JANSSEN BIOTECH, INC.,                    )
                        Plaintiff,        )
                                          )
                  v.                      )                    Civil Action No. 1:17-cv-11008-MLW
                                          )
CELLTRION HEALTHCARE CO., LTD.,           )
CELLTRION, INC., and                      )
HOSPIRA, INC.,                            )
                        Defendants.       )
_________________________________________ )

                          JANSSEN’S MOTIONS IN LIMINE NOS. 4-14

          Plaintiff Janssen Biotech, Inc. hereby moves the Court in limine for the relief described
below:1
          Motions In Limine Nos. 4-7 Regarding Infringement:
             To Exclude Evidence or Argument on Public Notice (MIL No. 4);
             To Exclude Evidence or Argument on Vitiation (MIL No. 5);
             To Exclude Evidence or Argument that the ’083 Patent Has a Narrow Range of
              Equivalents (MIL No. 6); and
             To Exclude Hypothetical Questioning Regarding the Scope of the Doctrine of
              Equivalents (MIL No. 7).

          Motions In Limine Nos. 8-10 Regarding Economic Damages:
             To Exclude Evidence or Argument that Janssen’s Lost Profits and Reasonable Royalty
              are Subject to Apportionment (MIL No. 8);
             To Exclude Evidence or Argument that Janssen’s Reasonable Royalty Analysis is
              Based on a “Hold Up” (MIL No. 9); and
             To Exclude Evidence or Argument on the Effect of Ixifi on Janssen’s Damages (MIL
              No. 10).

          Motions In Limine Nos. 11 and 12 Regarding Non-Infringing Alternatives:
             To Exclude Testimony from Dr. Bert Frohlich Related to Liability (MIL No. 11).


1
 Janssen’s motions in limine numbers 1-3 were filed in the previous action, Case No. 1:15-cv-10698-MLW, Dkt.
No. 375. Those motions are still pending before the Court.



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            To Exclude Evidence or Argument Regarding Purely Theoretical Non-Infringing
             Alternatives (MIL No. 12);

       Motion In Limine No. 13 Regarding Defendants’ Double Standard Argument:
            To Exclude Evidence or Argument that Janssen is Applying a Double Standard by
             Analyzing the Doctrine of Equivalents and Obviousness Differently (MIL No. 13).

       Motion In Limine No. 14 Regarding Bifurcation:
            To Bifurcate the Trial (MIL No. 14).


       The bases for Janssen’s requested relief are set forth in the accompanying memoranda of

law, which correspond to the groupings listed above. All the memoranda refer to the single set of

exhibits attached to this notice of motion (Janssen MIL Exhibits 1-20).



Dated: May 18, 2018                                 Respectfully Submitted,
                                                    JANSSEN BIOTECH, INC.

                                                    By its attorneys,

                                                    /s/ Alison C. Casey______________________

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                                 CERTIFICATE OF SERVICE

        I certify that on May 18, 2018, this document, filed through the Court’s ECF system, will
be sent electronically to the parties or their counsel who are registered participants as identified
on the Notice of Electronic Filing.


                                                      /s/ Alison C. Casey__________




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